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                                         August 3, 2022


Honorable Paula Xinis
United States District Court
 for the District of Maryland
6500 Cherrywood Lane
Greenbelt, Maryland 20770



                 Re:   United States v. Thomas Connally
                       Crim. No. PX-22-172
                       Supplemental Sentencing Materials

Dear Judge Xinis:


        In Mr. Connally’s sentencing memorandum, we addressed the stress Mr.
Connally experienced in connection with his mother’s isolation in a nursing home
during the pandemic. To supplement his submission, Mr. Connally points the Court
to two news articles, published in 2020, drawing attention to the impact of social
isolation upon nursing home residents during the pandemic, a topic he was acutely
concerned about at the time.

       A July 2020 article by The Atlantic reported that more than 40% of the
nation’s coronavirus deaths had been residents or employees of nursing homes and
long-term-care facilities, and that government officials were seemingly doing little
to prevent further devastation.1 The article also pointed to the human cost of the
isolation, noting that patients with dementia deteriorated more rapidly without
social interaction.



1 Olga Khazan, The U.S. Is Repeating Its Deadliest Pandemic Mistake, The Atlantic, (July 6, 2020),
https://www.theatlantic.com/health/archive/2020/07/us-repeating-deadliest-pandemic-mistake-
nursing-home-deaths/613855/.
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       An October 2020 NBC News article reported that many in nursing homes
were dying not of Covid-19 but of social isolation related to pandemic restrictions,
according to official death records.2 Medical experts reported that the harms caused
by social isolation were real – from rapid weight loss to lower cognitive function and
increased depression, which in turn increased risks of other conditions including
high blood pressure, heart disease, and stroke, and caused a decrease in daily living
functions.3

      Mr. Connally and the undersigned look forward to addressing the Court
tomorrow, August 4, 2022.

                                             Sincerely,

                                             //s//

                                             Ellie Marranzini
                                             Assistant Federal Public Defender




cc:    AUSAs Rajeev Raghavan and Jessica Collins
       Irma Dasovic, USPO




2 Suzy Kimm,   The hidden Covid-19 health crisis: Elderly people are dying from isolation, NBC News
(Oct. 27, 2020), https://www.nbcnews.com/news/us-news/hidden-covid-19-health-crisis-elderly-people-
are-dying-isolation-n1244853.
3
  Id.
                                                2
